Case 6:20-cv-01611-MJJ-CBW Document 8 Filed 06/07/21 Page 1 of 1 PageID #: 33




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

NEAL JAMES ROBICHEAUX                        DOCKET NO. 20-CV-1611
                                                   SECTION P

VERSUS                                       JUDGE MICHAEL J. JUNEAU

STATE OF LOUISIANA, ET AL.                  MAGISTRATE JUDGE WHITEHURST

                                     JUDGMENT

        For the reasons stated in the Report and Recommendation of the Magistrate Judge

previously filed herein, noting the absence of objections thereto, and concurring with the

Magistrate Judge’s findings under the applicable law;

        IT IS ORDERED, ADJUDGED AND DECREED that the civil rights

complaint be DISMISSED in accordance with the provisions of FRCP Rule 41(b).

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED the Motion to

Continue, Motion to Direct Appeal, and Motion for Discovery (Rec. Doc. 6) filed

by plaintiff on March 19, 2021, be DENIED.

        THUS DONE AND SIGNED in Lafayette, Louisiana, on this 7th day of June,
2021.

                                               ______________________________
                                               MICHAEL J. JUNEAU
                                               UNITED STATES DISTRICT JUDGE
